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UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 4-21-20


 UNITED STATES OF AMERICA,
                                                                 No. 18-cr-694 (RA)
                        v.
                                                                        ORDER
 LEWIS STAHL,

                             Defendant.


RONNIE ABRAMS, United States District Judge:

       The Court is in receipt of the Government’s letter indicating that, in light of “new guidance”

just issued to the Bureau of Prisons (“BOP”) by the Department of Justice (“DOJ”), the BOP now

anticipates that Mr. Stahl is no longer eligible for home confinement or a furlough. Given the fact

that the Government previously informed the Court that the BOP had already approved Mr. Stahl’s

request for home confinement, and the U.S. Probation Offices in both the Southern District of New

York and the Southern District of Florida had already approved his relocation request, the

Government is hereby directed to provide the Court with an explanation from the BOP, including

by way of affidavit from the appropriate representative, as to how the new DOJ guidance can affect

these prior decisions. The Government shall do so no later than 5:00 p.m. on Wednesday, April

22, 2020. The Government shall also file a copy of the new DOJ guidance on the docket by that

time. If it still does not have a copy of the new DOJ guidance by 5:00 p.m. on April 22nd, it shall

provide the Court with additional details about the guidance including when it went into effect and

who it applies to, as well as when it will be submitted to the Court.
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         Additionally, the Court notes that to the extent he has not already done so, Mr. Stahl will

have satisfied the exhaustion requirement of 18 U.S.C. § 3582(c)(1)(A) by April 23, 2020, i.e., 30

days after Mr. Stahl submitted his March 23, 2020 “Emergency Request for Coronavirus (COVID-

19) Quarantine to Home Confinement.” 1 See Dkt. 50-2. Indeed, the Government previously

appeared to acknowledge as much when it indicated that the BOP was “diligently working to

review and respond to [Mr. Stahl’s internal] requests by April 23.” See Dkt. 51 at 1. Accordingly,

to the extent the BOP does not intend to release Mr. Stahl as it previously committed to do, it shall

decide whether to grant him compassionate release in light of his health conditions and COVID-

19 no later than April 23, 2020.

         Finally, Mr. Stahl shall advise the Court as soon as possible, whether, if the Court were to

grant his compassionate release motion, he would have any objection to the addition of a new

condition of his supervised release, namely that eighteen (18) months of that supervised release

term be served on home detention. If he has no objection, he shall promptly provide his consent

to such additional condition of supervised release in writing to the Court.

SO ORDERED.

Dated:      April 21, 2020
            New York, New York

                                                        Ronnie Abrams
                                                        United States District Judge




1
  In light of this, the Court need not decide whether § 3582’s exhaustion requirement can be waived––an issue on
which the courts in this District are divided. Compare United States v. Scparta, No. 18-cr-578 (AJN), 2020 WL
1910481, at *8 (S.D.N.Y. Apr. 20, 2020) and United States v. Russo, No. 16-cr-441 (LJL), 2020 WL 1862294, at *6-
7 (S.D.N.Y. Apr. 14, 2020), with United States v. Roberts, No. 18-CR-528-5 (JMF), 2020 WL 1700032, at *2
(S.D.N.Y. Apr. 8, 2020).
